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     Karma M. Giulianelli (SBN 184175)                        Paul J. Riehle (SBN 115199)
 1   karma.giulianelli@bartlitbeck.com                        paul.riehle@faegredrinker.com
     BARTLIT BECK LLP                                         FAEGRE DRINKER BIDDLE & REATH
 2
     1801 Wewetta St., Suite 1200                             LLP
 3   Denver, Colorado 80202                                   Four Embarcadero Center, 27th Floor
     Telephone: (303) 592-3100                                San Francisco, CA 94111
 4                                                            Telephone: (415) 591-7500
     Hae Sung Nam (pro hac vice)
 5   hnam@kaplanfox.com                                       Christine A. Varney (pro hac vice)
     KAPLAN FOX & KILSHEIMER LLP                              cvarney@cravath.com
 6   850 Third Avenue                                         CRAVATH, SWAINE & MOORE LLP
     New York, NY 10022                                       825 Eighth Avenue
 7   Tel.: (212) 687-1980                                     New York, New York 10019
                                                              Telephone: (212) 474-1000
 8
     Co-Lead Counsel for the Proposed Class in In re
 9   Google Play Consumer Antitrust Litigation       Counsel for Plaintiff Epic Games, Inc. in
                                                     Epic Games, Inc. v. Google LLC et al.
10   Steve W. Berman (pro hac vice)
     steve@hbsslaw.com                               Brian C. Rocca (SBN 221576)
11   HAGENS BERMAN SOBOL SHAPIRO LLP brian.rocca@morganlewis.com
     1301 Second Ave., Suite 2000                    MORGAN, LEWIS & BOCKIUS LLP
12   Seattle, WA 98101                               One Market, Spear Street Tower
     Telephone: (206) 623-7292                       San Francisco, CA 94105-1596
13                                                   Telephone: (415) 442-1000
     Co-Lead Counsel for the Proposed Class in In re
14   Google Play Developer Antitrust Litigation and Daniel M. Petrocelli, Bar No. 97802
     Attorneys for Pure Sweat Basketball, Inc.       dpetrocelli@omm.com
15
                                                     O’MELVENY & MYERS LLP
16   Bonny E. Sweeney (SBN 176174)                   1999 Avenue of the Stars, 7th Fl.
     bsweeney@hausfeld.com                           Los Angeles, CA 90067-6035
17   HAUSFELD LLP                                    Telephone: (310) 553-6700
     600 Montgomery Street, Suite 3200
18   San Francisco, CA 94104                         Counsel for Defendants Google LLC et al.
     Telephone: (415) 633-1908
19
     Co-Lead Counsel for the Proposed Class in In re
20
     Google Play Developer Antitrust Litigation and
21   Attorneys for Peekya App Services, Inc.

22   [Additional counsel appear on signature page]

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                                     JOINT CASE MANAGEMENT STATEMENT
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 1                              UNITED STATES DISTRICT COURT

 2                           NORTHERN DISTRICT OF CALIFORNIA
 3
                                      SAN FRANCISCO DIVISION
 4

 5
     IN RE GOOGLE PLAY STORE
 6   ANTITRUST LITIGATION                                  Case No. 3:21-md-02981-JD

 7   THIS DOCUMENT RELATES TO:                             JOINT CASE MANAGEMENT
 8                                                         STATEMENT
     Epic Games Inc. v. Google LLC et al., Case
 9   No. 3:20-cv-05671-JD                                  Date: July 22, 2021
                                                           Time: 10:00 a.m.
10   In re Google Play Consumer Antitrust                  Courtroom: 11, 19th Floor (via Zoom)
     Litigation, Case No. 3:20-cv-05761-JD                 Judge: Hon. James Donato
11

12   In re Google Play Developer Antitrust
     Litigation, Case No. 3:20-cv-05792-JD
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 1              Pursuant to this Court’s Order dated July 7, 2021 (MDL ECF No. 52), the parties in

 2   the above-captioned MDL action (“the Parties”), by and through their undersigned counsel,

 3   submit this Joint Statement.

 4         I.   CASE STATUS SUMMARY

 5              A. Amendments to Epic’s and Developer Plaintiffs’ Complaints

 6              On July 2, 2021, Epic Games, Inc. (“Epic”) and plaintiffs in In re Google Play

 7   Developer Antitrust Litigation (“Developer Plaintiffs”) filed a Notice of Intent to Amend

 8   Complaints, indicating their intention to seek approval or consent to amend their respective
 9   complaints. MDL ECF 51. On July 7, 2021, the Court issued an order directing Epic and

10   Developer Plaintiffs to file amended complaints by July 21, 2021. MDL ECF 52.

11              As set forth in the Notice to Amend, Plaintiffs in In re Google Play Consumer

12   Antitrust Litigation (“Consumer Plaintiffs”) were willing to stand on their operative complaint

13   and move forward with a hearing on the motion to dismiss. However, in light of the Court’s

14   order vacating the hearing on the motion to dismiss and directing the Parties to coordinate

15   briefing on motions to dismiss each of plaintiffs’ complaints, Consumer Plaintiffs have decided

16   to align with Epic and Developer Plaintiffs and amend their complaint by July 21, 2021.

17   Consumer Plaintiffs have informed Google of their position.

18              B. New Related Action Filed on July 7, 2021

19              On July 7, 2021, State of Utah et al. v. Google LLC et al., No. 3:21-cv-05227-JSC

20   was filed in this District (the “States Action”). The Parties in the MDL action agree that the

21   States Action meets the standard for related cases under Civil L.R. 3-12. We understand the

22   plaintiffs in the States Action are preparing to file an Administrative Motion to Consider

23   Whether Cases Should be Related. The Parties will meet and confer with counsel in the States

24   Action regarding pretrial coordination.

25              C. Google’s Motion to Dismiss

26              On November 13, 2020, Google filed a motion to dismiss Epic’s and Developer

27   Plaintiffs’ complaints, and the Court set the motion for hearing on February 18, 2021. Epic Case

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 1   ECF 91, 114; Developer Case ECF 71, 84. To streamline motion proceedings, the Parties

 2   stipulated that the Consumer Plaintiffs shall be deemed to join and be subject to the omnibus

 3   briefing already on file with the Court. MDL ECF 8 at 1-2; MDL ECF 11 at 2-3. The motion to

 4   dismiss was reset for hearing on July 22, 2021. MDL ECF 43. In light of Epic’s and Developer

 5   Plaintiffs’ request to amend their complaints, the Court vacated the July 22, 2021 hearing date

 6   and directed the parties to brief any motions to dismiss the amended complaints, as well as the

 7   Consumer Plaintiffs’ complaint, on a coordinated basis. MDL ECF 52.

 8              The Parties in the MDL propose the following schedule for coordinated omnibus
 9   briefing on Google’s motion to dismiss all actions in the MDL:

10
                        Proposed Motion to Dismiss Schedule
11
                    Event                           Date
12

13                  Amended Complaints              July 21

14                  Motion to Dismiss               August 20

15                  Opposition                      September 21

16                  Reply                           October 1

17                  Hearing                         October 14

18              D. Joint Statement Regarding Proposed Case Schedule
19              Pursuant to this Court's order dated May 14, 2021 (MDL ECF 39), the Parties in the
20   MDL submitted a Joint Statement regarding the Parties’ proposed case schedule (MDL ECF 46).
21   Counsel for the Parties in the MDL intend to meet and confer, including with the parties in the
22   States Action, regarding a proposed case schedule and aim to submit a further Joint Statement on
23   Scheduling to the Court by July 29, 2021, or as otherwise directed by the Court.
24       II.    STATUS OF DISCOVERY
25              A. Stipulation and Proposed Order re Expert Discovery.
26              On July 9, 2021, the Parties submitted a proposed order regarding expert discovery
27   and request that the Court enter it on all dockets. MDL ECF 54.
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                                      JOINT CASE MANAGEMENT STATEMENT
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 1              B. Fact Depositions

 2              The Parties have agreed to commence a meet and confer process regarding fact

 3   depositions and anticipate submitting a stipulated deposition coordination order, or their

 4   respective positions, within 30 days.

 5              C. Document Discovery Update

 6              The Parties have made significant progress to date and continue to engage in

 7   discovery on a range of topics. The Parties each represent they have completed substantial

 8   production of custodian documents, although there are meet and confers underway to address
 9   additional categories of information, additional custodians, targeted “refresh” productions, and

10   other productions that require additional time to manage, e.g., transactional data and documents

11   subject to a non-disclosure agreement or privilege log processes.

12
      Dated: July 15, 2021                            CRAVATH, SWAINE & MOORE LLP
13                                                      Christine Varney (pro hac vice)
14                                                      Katherine B. Forrest (pro hac vice)
                                                        Darin P. McAtee (pro hac vice)
15                                                      Gary A. Bornstein (pro hac vice)
                                                        Timothy G. Cameron (pro hac vice)
16                                                      Yonatan Even (pro hac vice)
                                                        Lauren A. Moskowitz (pro hac vice)
17
                                                        Omid H. Nasab (pro hac vice)
18                                                      Justin C. Clarke (pro hac vice)
                                                        M. Brent Byars (pro hac vice)
19
                                                      FAEGRE DRINKER BIDDLE & REATH LLP
20                                                      Paul J. Riehle (SBN 115199)
21                                                    Respectfully submitted,
22
                                                      By:       /s/ Yonatan Even
23                                                              Yonatan Even

24                                                              Counsel for Plaintiff Epic Games, Inc.
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                                      JOINT CASE MANAGEMENT STATEMENT
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 1   Dated: July 15, 2021                           BARTLIT BECK LLP
 2                                                    Karma M. Giulianelli

 3                                                  KAPLAN FOX & KILSHEIMER LLP
                                                      Hae Sung Nam
 4

 5
                                                              Respectfully submitted,
 6
                                                    By:       /s/ Karma M. Guilianelli
 7                                                            Karma M. Giulianelli
 8                                                            Co-Lead Counsel for the Proposed Class in
                                                              In re Google Play Consumer Antitrust
 9
                                                              Litigation
10

11   Dated: July 15, 2021                           PRITZKER LEVINE LLP
                                                      Elizabeth C. Pritzker
12
                                                    Respectfully submitted,
13

14                                                  By:       /s/ Elizabeth C. Pritzker
                                                              Elizabeth C. Pritzker
15
                                                              Liaison Counsel for the Proposed Class in
16                                                            In re Google Play Consumer Antitrust
17                                                            Litigation

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     Dated: July 15, 2021                           HAGENS BERMAN SOBOL SHAPIRO LLP
 1                                                    Steve W. Berman
 2                                                    Robert F. Lopez
                                                      Benjamin J. Siegel
 3
                                                    SPERLING & SLATER PC
 4                                                    Joseph M. Vanek
                                                      Eamon P. Kelly
 5
                                                      Alberto Rodriguez
 6

 7                                                  Respectfully submitted,

 8                                                  By:       /s/ Steve W. Berman
                                                              Steve W. Berman
 9

10                                                            Co-Lead Interim Class Counsel for the
                                                              Developer Class and Attorneys for Plaintiff
11                                                            Pure Sweat Basketball
12

13
     Dated: July 15, 2021                           HAUSFELD LLP
14                                                    Bonny E. Sweeney
                                                      Melinda R. Coolidge
15                                                    Katie R. Beran
                                                      Scott A. Martin
16                                                    Irving Scher
17

18                                                  Respectfully submitted,

19                                                  By:       /s/ Bonny E. Sweeney
                                                              Bonny E. Sweeney
20

21                                                            Co-Lead Interim Class Counsel for the
                                                              Developer Class and Attorneys for Plaintiff
22                                                            Peekya App Services, Inc.

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                                    JOINT CASE MANAGEMENT STATEMENT
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     Dated: July 15, 2021                           MORGAN, LEWIS & BOCKIUS LLP
 1                                                    Brian C. Rocca
 2                                                    Sujal J. Shah
                                                      Michelle Park Chiu
 3                                                    Minna L. Naranjo
                                                      Rishi P. Satia
 4

 5
                                                    Respectfully submitted,
 6
                                                    By:       /s/ Brian C. Rocca
 7                                                            Brian C. Rocca
 8                                                  Counsel for Defendants Google LLC et al.
 9

10   Dated: July 15, 2021                           O’MELVENY & MYERS LLP
                                                      Daniel M. Petrocelli
11                                                    Ian Simmons
                                                      Benjamin G. Bradshaw
12                                                    E. Clay Marquez
13                                                    Stephen J. McIntyre

14
                                                    Respectfully submitted,
15
                                                    By:       /s/ Daniel M. Petrocelli
16                                                            Daniel M. Petrocelli
17
                                                    Counsel for Defendants Google LLC et al.
18

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 1                                        E-FILING ATTESTATION
 2
                    I, Brian C. Rocca, am the ECF User whose ID and password are being used to file
 3
     this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 4
     signatories identified above has concurred in this filing.
 5

 6                                                                /s/ Brian C. Rocca
                                                                      Brian C. Rocca
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